EXHIBIT 1

UNITED STATES DISTRECT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

NANCY A. MCCLURE-SOTO,
Plaintiff

v. NO, 5:21-CV-00660 -JISP-HJB

BEXAR COUNTY, TEXAS,
Defendant

AFFIDAVIT OF TINA SMITH-DEAN

THE STATE OF TEXAS — §
COUNTY OF BEXAR  §

BEFORE ME, the undersigned authority, on this date personally appeared Tina Smith-
Dean, who, after being duly sworn, deposed as follows:

“My name is Tina Smith-Dean, and I am over the age of eighteen (18) and of sound
mind, and fully capable of making this affidavit. I am the Assistant County Manager of Bexar
County, Texas and have been employed in that position since 2012, One of my responsibilities
is the oversight and management of the Budget and Finance Department. Additionally, I have
worked with Nancy McClure-Soto (“Nancy”) for many years, both when she was a direct report
to the County Manager and then when he assigned her to work directly under me, Accordingly, I
have personal knowledge of the facts stated herein and they are true and correct.

“With regard to my alleged “removal of duties” from Nancy, the only responsibility that
was truly one of Nancy’s “duty” was the responsibility for travel arrangements. Nancy was not
performing that duty up to my standard, which I might add was a standard she set herself by
doing a good job at it. It was in early 2019 that I noticed a decline in her performance in this
area, which I brought fo her attention. So, J decided to have someone else handle travel
arrangements, I wanted to see if the process would improve. If it did not improve, I would have
moved it back to Nancy. If it did improve, I would have made that change permanently.

“In fact it was Nancy’s failure to handle a travel advance for Alex Millan that caused the
swearing incident, where regrettably I swore at Nancy in front of other people in the workplace.
I told her to get that check! Our Budget Analysts are young and on budgets and I believe
it is inexcusable to fail to get them a travel advance.

“As to Calendar Access, | removed the ability for anyone to make changes to my
calendar. I estimate this was sometime in early 2018, but I don’t remember the exact date or
time. I did this because meetings were popping up on my calendar that | was not aware of or
able to prepare for. However, I did leave access to view my calendar so others could see where |
was, Then itt late fall of 2019, I did remove Nancy’s ability to see my calendar. She seemed
angry all the time and I did not know what was happening, but ] was concerned. However, she
when she needed to coordinate a meeting for me or had questions, she called me in the office,
came into my office, or contacted me on my personal cell phone. Most importantly, it was not
-one of Nancy’s job duties to manage my calendar, I have always managed my own calendar. W

“Nancy’s behavior was also the basis for my decision to remove the personnel files from
Nancy’s office. I don’t remember the exact date or time. However, the files were merely located
in her office — it was never her responsibility to maintain them or be the custodian of them. But
clearly personnel files have private information and security information and computer
passwords, I moved the files to my office under lock and key to avoid anyone’s inappropriate
access — and not to take away a non-existent job responsibility of Nancy,

“Once I moved the persorinel files to my office, I had the lock changed on my office door
to keep those secure.

“The Jail Report was regularly prepared by an Analyst who knew the details of the report
and could ask questions about it. At some point, Nancy took on the responsibility of sending out
the email with the Jail Report attached to various County stakeholders. | thought it made more
sense for the Analyst who prepared it to send the email out instead of Nancy. It was her a job
duty responsibility.

“JT was surprised at Nancy’s angry behavior which began escalating in the Fall of 2019. I
had considered her a friend, and had helped her in times of need. I was especially shocked to
receive her email in December of 2019. It was obvious to me that I had to remove myself from
her line of command and allow for an independent investigation to occur.

“Unfortunately, she seemed to view that necessary break in the chain of command — as
another perceived affront, and the anger and intimidating behavior increased dramatically,
leading to an investigation into intimidation of the whole department.

“Further Affiant sayeth not.”

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day of “Deu Kk) , 2023

Tina Smith-Dean
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NOTARY PUBLIC, STATE OF TEXAS

SIGNED this the

Sworn to and subscribed before me on this the

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